                                                                                                                                                                                                                        Case Filed
                      CRIMINAL DOCKET U.S. District Court                                                U.S.                                 (I.. ... ST. FIRST, ""COL.EI                                                                                  Docket No.              Oet.
 AO 256                                                         AlIigned              l-J WRIT               vs.                                                                                                Mo I Day I Yr.

                                                                   ~170.6. _'                              ~. ISENHOUR, Ralph Leroy
(Re•• 2/86)           PO                                                                                                                                                                                                 ,           I
                                 o .O/it _<25                                         '-.J    JUVENILE                                                                                                              0~87                        00044      01
                      Misd.      0                                 OOSj:lik""""e
                                                                                      L....J ALIAS                                                                                                              •            No 01       :--:-co-;;!:;,---------
                      Felony           District          Off   JudgeIM~9'~tr          OFFENSE ON INDEX    CAR~                                                                                                      1         O,t's· cU"~1EMN~" ..

                                   U.S. TITLE/SECTION                                                                                 OFFENSES CHARGED                                             OfllGINAl COUNTS,                                              DISM.

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                                18:1709                                               Embezzlement of mail                                                                                                                                   1                LVL....J
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              ".'"
              :I:
              o                                                                                    Crimin.al Informat.ion - (Petty-Misd.)
                             18:1701                                                obstruct and reta.rd passage of mail    Cts.l&.2                                                                                                     .2
                             (petty~mis<:\.)
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                           Summons
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                               COMPLAINT                                                                    o     INTERVENING INDICTMENT                                                                   I
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              ~              1303 Tulip St.                                                                                                      Jack B. Crawley, Jr.                                                                    AMQUNTSET
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                             P. O. Box 262                                                                                                       P. O.Box 97155                                                                          $_ _ _  --.---J I"(:onditioos
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                                                     Case 5:87-cr-00044-BR Document 1 Filed 09/08/87 Page 1 of 4
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                        ., I                                      I                                                                             VI EXCLUDABLE DELAY
                                                                                                                                                                         LETTEIl CODES

    DATE                                                                           ~   MASTER DOCKET - MULTIPLE DEFENDANT CASE                                           F",       '''''~\.!.. ,ni


   DOCUMENT NO   =+     87             00044                          "'.
                                                                      01 '---.J PROCEEDINGS DOCKET FOR SINGLE DEFENDANT
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5/28/87           1      CRIMINAL COMPLAINT filed                                                                             usc
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5/28/87           2      WARRANT FOR ARREST issued & ret'd; def't arrested by G. D. Nedo~tup,                           """"
                                 Postal Inspector                                     bb
5/28/87           3     ORDER SETTING CONDITIONS OF RELEASE-def't released on PR Bond;
                                 travel restriction to EDNC; maintain or seek employment;
                                 cys to AUSA; def't & USMS                            bb                             tJ                                                            NARA.x.rn"~
                                                                                                                                                                              Usc: 290211111 <Sl]
5/28/87                 Received USMarsahl Field Report                               bb                                                                                 c         S"l,"F,~,1 pro


6/4/87            4     NOTICE OF APPEARANCE-by Jack B. Crawley as retained counsel for                                 OMd,n!l< ""
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                                 the def't' cs to AUSA                                bb                                  Inl.rlocul<>rvap                               D
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6/16/87           5     WAIVER OF PRELIMINARY EXAMINATION by the def't; cy to def't,                                      Pr."r.1 rn.",oo
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                                 Mr. Crawley & AUSA                                    bb                                            0'                                      h.",~               '~Ol~or




7/30/87           6     MOTION FOR DISMISSAL OF COMPLAINT AND INCORPORATED MEMORANDUM     7-30-87   ill            &r;:;,'          f:::"'l'"
                                                                                                                     > Tr.:'r.J:..J o,~.r                         /7-
                                                                                       bb 9-15-87
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                                 OF LAW-cs to AUSA                                                                                                                            ~()~10,.ou,M.g
                                                                                                                        Aul.6allll.GII
8/10/87           7     RESPONSE OF THE UNITED STATES TO DEFENDANT'S MOTION TO DISMISS
                                 THE COMPLAINT; cs to Jack Crawley; cy to Judge Britt bb
8/12/87           8     REQUEST FOR HEARING on Motion for Dismissal by def't; cs to
                                 AUSA; cy to Judge Britt                               bb
8/17/87           9     REPLY TO RESPONSE OF UNITED STATES TO DEFENDANT'S MOTION TO                                       ProU.d,"!l' UOMr                               G
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                                 DISMISS THE COMPLAINT by def't; cs to AUSA; cy to Judge                                                d.v,                                 .. eftO .10
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                                 Britt                                                 bb                              WV,u"'''''''''''''
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8/17/87          10     AFFIDAVIT OF RALPH LEROY ISENHOUR w/attached Letter of Decision;                               o_pl.,.dlllIIJII
                                                                                                                     H """,                                                              P''"''''~'''!l>
                                 cy to Judge Britt                                     bb                              '''''Il''".. potOI.1
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8/27/87                 NOTICE-of Hearing on Motion to Dismiss with Prejudice on                                       l)apo"aIlOO .•.,,,
                                                                                                                                                                             ~;,;oo     1111
                                 Tuesday, Sept. 15, 1987 at 10:30 a.m. Courtroom No. 2                                 cut,,,,,
                                                                                                                                                                         50<1.".1 of 1"""
                                                                                                                                                                                1(><' 28 USC
                                 7th Floor, Raleigh; cys to USAtty & Jack B. Crawley,                                  29021 ]111,el]
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                                 Jr.                                                   bt                                            d"",o' or
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9/4/87                  SUPPLEMENTAL AFFIDAVIT OF RALPH LEROY ISENHOUR w/attached                                       a, n",pc,.I"a',,'"




9/8/87
                                 Letter; cy to Judge Britt
                        INDICTMENT filed; cys to Judge Britt; Mag. Denson; USAtty
                                 USPO; USMS; Mr. Crawley
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 9/11/87         13     ORDER ON PRETRIAL SCREDULING -                                                                    Un....... lOo,'''v
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                                discovery by 9/28/87                                                                    '",,',,''''' I.JIIA,lI']
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                                motions by 10/8/87                                                                      ,.,,1 ,"compp'Mce
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                                responses by 10/19/87                                                                                                                         I" .. 1141]
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                                (Denson, Mag.) lc: USA, Crawley and Judge Britt                                         oo"',",lm''''/Io,.1
                                                                                                                        m,n, 11511
                                                                                                                                                                         PSuPP"',j,,,~ '"~'Cl
 9-21-87          14     ORDER -      at hearing conducted 9/15/87 m/dismiss complaint w/o 9-15-87                                                                            """' '"~In'""'"
                                                                                                                                                                              ct1OlIl',1161]
                                        prejudice and allowed deft. to more, ore tenus to  9-21-87
                                        dismiss the indictment on same grounds - motion
                                         to dismiss indictment is DENIED. (Britt, J)
                                        Cr. OB#35 , P. 174. lc: USA and Mr. Crawley.                                                                                     RD.!           ,w"""9'''''
                                        (ent. 9/21/87)                                                                                                                        al <0 dol .. ndMlt &
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                              70 days up 11/30 w/excludable time through 9/21                                                                                             r        c""',~u'o,",

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   10-26- 7                ISSUED NOTICE TO APPEAR                                                                                                                             ,""'.""".... M'[TI
                                                                                                                                                                               'h,uT4."g ...""
                                         set for arraignment and trial                                                                                                         'Ypp<>,t 01 """1'
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                                        on 11/9/87 at 9:00 A.M. in Raleigh before Judge Br tt                                                                            Tl F"ly,.               '0
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                                                                                                                                                                          woul~ !top !u""'"
                                         lc: U.S.A. & Mr. Crawley                                                                                                         pr""•• d,n!l< a,
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 11/6/87          15.      CRIMINAL INFORMATION - petty-misdemeanor                                                                                                       oJ lu,t". It81'6.,,<I]
                                                                                                                                                                         T2        ea.. unu,u.1 or co'"
                                      lc: Judge Britt
                             Received Consent to Proceed before U.S. Magistrate - signed

                                                                                                                                                                         "'M"'~
                                      by deft. and Mr. Crawley - lc: Judge Britt

                                                                                                                                                                         ~'''IC~~
                             Proposed Order for Dismissal of indictment w/o prejudice
                                      submitted - Orig. to Judge Britt.                                                                                                       'n :Wa.v.          IIB.16."il
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                                                Case 5:87-cr-00044-BR Document 1 Filed 09/08/87 Page 2 of 4                                                               1P-',lwp"a,31611<1

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    UNITED STATES DISTRICT COURT
    CRIMINAL DOCKET
                                                ISENHOUR, Ralph Leroy                          ~ 87-44-01-Cr-5
          AO 256A •                                                                                   Yr.    I   Docket No.              IDe'.



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        DATE                                 PROCEEDINGS Icontinued)                             V. EXCLUDABLE DELAY
    1------+lOOcumenl No.~                                                                   + ..I.c_I+-_~lbc_I _        __1_-..:I~c!..j1...!1~d!..1

     11-17-87         RALEIGH - JUDGE BRITT - Jo Bush Cour~ Reporter
                            MEMORANDUM OF PLEA AGREEKENT Ie: Britt, USA, USPO
                            Rule 11
                            Plea of G/Cts. 1 & 2
                            ORDER FOR DISMISSAL as to original Indictment
                             (Britt, J) Cr. OB#35 , P. 224. Ie: Britt, USA, USPO
                            and Mr. Crawley. (ent. 11/23/87)
                            Plea accepted   - Bond continued
                            SEN: 1/25/88 - Ral.
      1/6/88          Issued NOTICE - for sentencing on Monday, January 25, 198 ,
                      I       9:00 a.m. @ Raleigh; cy to AUSA & defense counsel   bb
      1-20-88             MEMO                From Judge Britt regarding sentencing 0
                                              January 25, 1988 in Raleigh at 10:00 A.~.
                                              cys. dist. to counsel of record, Ie. U.~. A ty.
                                              Probation, Marshal, CLerk's Office and (our
                                              Reporter.                                 m
      1-25-88                  JUDGMENT AND COMMITMENT ORDER - COURT REPORTER - Jo Bu h
                                          COUNT 1 - Six (6) months and fined the sum
                              of $100.00 which bears interest at the rate of 1.5% per month
                              until paid-said fine to be paid immediately.
                              Execution of the Sentence of imprisonment only is hereb



•                             suspended the deft. is placed on probation for a period of
                              three years upon the following conditions
                              1. That he obey all local, state and federal laws,
                              2. That he comply with the rules and regualtions of the
                              Probation Office
                              3. that he contribute one - hundres hours of community
                              service as directed by his probation officer.
                              Defendant is to pay a sepcial assessment in the amount            f
                              $25.00.
                          .               COUNT 2 -Six (6) months- sentence     imposed        n
                          'COunt 2 to be consecutive to the sentence imposed on
                           Count 1. E.S.S. and deft. is placed on probation for a
                           period of three (3) years, upon the same terms and
                          'conditions a s set forthe for Count 1, however, the
                           100 hours community service on COunt 2, will be in
                              addition to the community service in Count   1~   for a tot 1
                           of two hundre hours community service in Count 1 for a
                           total of two hundred hours community service to serve
                           during his three years probationary period, said
                           community service to be under the supervision and direc io
                          .of his probation officer. Deft. is to pay a special
                           assessment in the amount of $25.00. The court finding
                           no identifiable victim, orders no restituton. Judge Bri t
                           CR OB # 6, P. 307 cys. dist. (ent. 1-29-88) ms




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                Case 5:87-cr-00044-BR Document 1 Filed 09/08/87 Page 3 of 4 Interval
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                                                                                                            Start Date       Ur, Total
                                                                                   (per Section II)           End Date       Cod Days
,UNITED STATES DISTRICT COURT
CRIMINAL DOCKET
      AO 256A

     DATE                                  PROCEEDINGS (continued)                          V. EXCLUDABLE DELAY
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                                                                            (per Section II)4 of 4
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